               Case 1:24-cv-00312-SE-TSM                 Document 30         Filed 10/31/24         Page 1 of 2
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           Coalition for Open Democracy et al.
                            Plaintiff
                               Y                                      &DVH1R     1:24-cv-00312
    David M. Scanlan, in his official capacity, et al.
                           Defendant

                                                APPEARANCE OF COUNSEL

7R     7KHFOHUNRIFRXUWDQGDOOSDUWLHVRIUHFRUG

         ,DPDGPLWWHGRURWKHUZLVHDXWKRUL]HGWRSUDFWLFHLQWKLVFRXUWDQG,DSSHDULQWKLVFDVHDVFRXQVHOIRU

         Coalition for Open Democracy, League of Women Voters of New Hampshire, Forward Foundation, et al.                 


'DWH         10/31/2024                                                                  /s/ Ming Cheung
                                                                                          Attorney’s signature


                                                                                  Ming Cheung, NY Bar No. 5647763
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GRFXPHQWWKDWLVILOHGHOHFWURQLFDOO\PXVWEHFRQYHQWLRQDOO\VHUYHGRQDQ\DWWRUQH\RUSDUW\WKHFHUWLILFDWHRIVHUYLFH
VKDOODOVRVWDWHWKHGDWHWKHGRFXPHQWZDVHOHFWURQLFDOO\ILOHGZLWKWKHFRXUW
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(OHFWURQLFDOO\6HUYHG7KURXJK(&)
 All counsel of record




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          10/31/2024                                                            /s/ Ming Cheung
'DWH                                                       6LJQDWXUH
